        Case 2:11-cr-00063-JCM-CWH            Document 175        Filed 03/03/14     Page 1 of 7




 1

 2

 3

 4

 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:11-CR-063-JCM-(CWH)
                                                      )
11 DAVID EVANS,                                       )
                                                      )
12                         Defendant.                 )
13                            AMENDED FINAL ORDER OF FORFEITURE

14           On September 6, 2012, the United States District Court for the District of Nevada entered an

15 Amended Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18,

16 United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c); Title 18,

17 United States Code, Section 982(a)(2)(B); Title 18, United States Code, Section 1029(c)(1)(C); and

18 Title 21, United States Code, Section 853(p) based upon the plea of guilty by defendant DAVID

19 EVANS to the criminal offenses, forfeiting the property set forth in the Plea Memorandum, the Bill of

20 Particulars, and the Forfeiture Allegations of the Criminal Indictment and shown by the United States

21 to have the requisite nexus to the offenses to which defendant DAVID EVANS pled guilty. Criminal

22 Indictment, ECF No. 1; Bill of Particulars, ECF No. 55; Change of Plea, ECF No. 57; Plea

23 Memorandum, ECF No. 59; Preliminary Order of Forfeiture, ECF No. 62; Amended Preliminary

24 Order of Forfeiture, ECF No. 129; Final Order of Forfeiture, ECF No. 131.

25           This Court finds the United States of America published the notice of forfeiture in accordance

26 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively
         Case 2:11-cr-00063-JCM-CWH            Document 175         Filed 03/03/14     Page 2 of 7




 1 from June 7, 2011, through July 6, 2011, notifying all potential third parties and notified known third

 2 parties by personal service or by regular mail and certified mail return receipt requested, of their right

 3 to petition the Court. Notice of Filing Proof of Publication, ECF No. 73; Notice of Filing Service of

 4 Process, ECF No. 160.

 5           On July 10, 2013, Danny Ahn was served with the Notice, the Amended Preliminary Orders

 6 of Forfeiture, and the Second Amended Preliminary Order of Forfeiture by regular mail and certified

 7 return receipt mail. Notice of Filing Service of Process, ECF No. 160-1, p. 1-57.

 8           On July 19, 2013, William J. Hornbuckle, in his official corporate capacity, was personally

 9 served with the Notice, the Amended Preliminary Orders of Forfeiture, and the Second Amended

10 Preliminary Order of Forfeiture. Notice of Filing Service of Process, ECF No. 160-1, p. 58-84 and

11 ECF No. 160-2, p. 1-27.

12           On July 19, 2013, Victoria T. Ferraro, as Registered Agent of an interested corporate party,

13 was personally served with the Notice, the Amended Preliminary Orders of Forfeiture, and the Second

14 Amended Preliminary Order of Forfeiture. Notice of Filing Service of Process, ECF No. 160-2, p. 28-

15 54.

16           On July 10, 2013, National Union Fire Insurance Co. was served with the Notice, the

17 Amended Preliminary Orders of Forfeiture, and the Second Amended Preliminary Order of Forfeiture

18 by regular mail and certified return receipt mail. Notice of Filing Service of Process, ECF No. 160-2,

19 p. 55-82 and ECF No. 160-3, p. 1-29.

20           On July 19, 2013, CSC Service Nevada, Registered Agent of National Union Fire Insurance

21 Co., AIG, was personally served with the Notice, the Amended Preliminary Orders of Forfeiture, and

22 the Second Amended Preliminary Order of Forfeiture. Notice of Filing Service of Process, ECF No.

23 160-3, p. 30-56.

24           On July 19, 2013, Sharon Tibbits was personally served with the Notice, the Amended

25 Preliminary Orders of Forfeiture, and the Second Amended Preliminary Order of Forfeiture. Notice of

26 Filing Service of Process, ECF No. 160-3, p. 57-83.

                                                         2
           Case 2:11-cr-00063-JCM-CWH           Document 175        Filed 03/03/14      Page 3 of 7




 1            On August 9, 2013, National Union Fire Insurance Company of Pittsburgh, PA filed a Petition

 2 for Ancillary Hearing with the Court. Petition for Ancillary Hearing, ECF No. 161.

 3            On August 30, 2013, the United States filed a Motion to Dismiss the Third-Party Claim of

 4 National Union Fire Insurance Company. Motion to Dismiss the Third-Party Claim of National Union

 5 Fire Insurance Company, ECF No. 164.

 6            On December 16, 2013, the United States filed a Motion to Withdraw its Motion to Dismiss

 7 Without Prejudice. Government’s Motion to Withdraw its Motion to Dismiss Without Prejudice, ECF

 8 No. 169.

 9            On December 17, 2013, the Court granted an Order as to the Government’s Motion to

10 Withdraw its Motion to Dismiss Without Prejudice. Order, ECF No. 170.

11            On February 18, 2014, the United States filed a Joint Status Report regarding the status of

12 settlement proceedings between the United States and National Union Fire Insurance Company. In it
13 the parties agreed, for the time being, to remove the matter from civil litigation in an attempt to

14 facilitate settlement through the administrative process instead. Status Report, ECF No. 171.

15             This Court finds no other petitions were filed herein by or on behalf of any person or entity

16 and the time for filing such petitions and claims has expired.

17            This Court finds no other petitions are pending with regard to the assets named herein and the

18 time for presenting such petitions has expired.

19            THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

20 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

21 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

22 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

23 Section 2461(c); Title 18, United States Code, Section 982(a)(2)(B); Title 18, United States Code,

24 Section 1029(c)(1)(C); and Title 21, United States Code, Section 853(n)(7) and (p) and shall be

25 disposed of according to law:

26 . . .

                                                         3
     Case 2:11-cr-00063-JCM-CWH          Document 175    Filed 03/03/14        Page 4 of 7




 1     1.    Motorola cell phone S/N SJUG5546AF;

 2     2.    Blackberry cell phone IMEI# 358453021785810;

 3     3.    Any and all funds in Bank of America account 5010-0002-7032 in the

 4           amount of $4,453.94;

 5     4.    $10,940 in United States Currency (seized from Joseph Ramirez);

 6     5.    Glock 21, serial number NHP 408 (with 2 magazines);

 7     6.    Dragonov rifle, serial number D029-75 (with scope and 2 magazines);

 8     7.    Two swords in case, unknown make/model;

 9     8.    Ammo can with .308 rounds;

10     9.    2005 Black Harley Davidson Sportster, VIN# 1HD1CGP195K453157;

11     10.   Any and all funds in Bank of America Account No. 11020-11128 in the

12           amount of $15,035.38;

13     11.   Any and all funds in Bank of America Account No. 5010-0865-1073 in the

14           amount of $2,897.31;

15     12.   2007 Grey Dodge Ram, 1500 Quad Cab, VIN# 1D7HA18267S266252;

16     13.   Black 1999 RE/MAX International Convention laptop bag;

17     14.   Unitech MSR206u magnetic card reader;

18     15.   Magnetic card reader power cord;

19     16.   Magnetic card reader USB connection cord;

20     17.   Magnetic card reader VGA connection cord;

21     18.   Three Players Club cards;

22     19.   Package of velcro wire retention straps;

23     20.   Toshiba Satellite laptop, model number PSL2XU, serial number

24           X5110890W;

25     21.   Laptop power cord;

26     22.   Several sheets of adhesive label paper;

                                                 4
        Case 2:11-cr-00063-JCM-CWH             Document 175        Filed 03/03/14      Page 5 of 7




 1          23.     Nokia cell phone;

 2          24.     Camel cigarette pack containing 17 Players Club cards with

 3                  PIN numbers written on back, as follows:

 4                         Players Club card with PIN number 1234

 5                         Players Club card with PIN number 6280

 6                         Players Club card with PIN number 4270

 7                         Players Club card with PIN number 2323

 8                         Players Club card with PIN number 2222

 9                         Players Club card with PIN number 3251

10                         Players Club card with PIN number 1961

11                         Players Club card with PIN number 2210

12                         Players Club card with PIN number 9433

13                         Players Club card with PIN number 1937

14                         Players Club card with PIN number 1110

15                         Players Club card with PIN number 5181

16                         Players Club card with PIN number 0823

17                         Players Club card with PIN number 7777

18                         Players Club card with PIN number 5117

19                         Players Club card with PIN number 1723

20                         Players Club card with PIN number 3188;

21          25.     Disk located in disk drive of Toshiba laptop, identified as MSR 206U 1.

22                  Demo 2. Programmer's Manual 3. USB Driver; and

23          26.     An in personam criminal forfeiture money judgment of $399,999.99 in United

24                  States Currency.

25          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,

26 including but not limited to, currency, currency equivalents, certificates of deposit, as well as any

                                                        5
        Case 2:11-cr-00063-JCM-CWH             Document 175        Filed 03/03/14      Page 6 of 7




 1 income derived as a result of the United States of America’s management of any property forfeited

 2 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

 3          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 4 certified copies to the United States Attorney’s Office.

 5          DATED this
                  March___3,day of ______________, 2014.
                              2014.

 6

 7

 8
                                                  UNITED STATES DISTRICT JUDGE
 9

10

11

12
13

14

15

16

17

18

19

20

21

22

23

24

25

26

                                                        6
        Case 2:11-cr-00063-JCM-CWH           Document 175        Filed 03/03/14     Page 7 of 7




 1                                        PROOF OF SERVICE
 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Amended Final Order of Forfeiture on February 26, 2014,

 4 by the below identified method of service:

 5         CM/ECF
 6         Thomas F. Pitaro                                       Louis C. Schneider
           1212 S. Casino Center Blvd.                            Law Office of Louis C. Schneider, LLC
 7         Las Vegas, NV 89104                                    2000 South Eastern Avenue
           thomaspitaro@yahoo.com                                 Las Vegas, NV 89104
 8         Attorney for Tony Ahn                                  lcslaw@yahoo.com
                                                                  Attorney for David Evans
 9         Cal J. Potter, III
           Potter Law Offices                                     Osvaldo E. Fumo
10         1125 Shadow Ln.                                        Osvaldo E. Fumo, Chtd.
           Las Vegas, NV 89102                                    1212 Casino Center Boulevard
11         info@potterlawoffices.com                              Las Vegas, N 89104
           Attorney for Joseph Ramirez                            ozzie@fumolaw.com
12                                                                Attorney for David Pecor
           John C. Funk
13         Henness and Height                                     Stephanie J. Smith
           8972 Spanish Ridge Ave.                                Gordon & Rees LLP
14         Las Vegas, NV 89148                                    3770 Howard Hughes Pkwy Ste. 100
           funkman25@hotmail.com                                  Las Vegas, NV 89169
15         Attorney for Joseph Ramirez                            Attorney for Interested Party
                                                                  National Union Fire Insurance
16                                                                Company
17

18

19

20

21                                       /s/ Ray Southwick
                                         Ray Southwick
22                                       Forfeiture Support Associates Paralegal
23

24

25

26

                                                      7
